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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  PHARMACEUTICAL CARE
  MANAGEMENT ASSOCIATION,

         Plaintiff,

                 v.                                          Civil Action No. 21-95 (JDB)
  U.S. DEPARTMENT OF HEALTH AND
  HUMAN SERVICES, et al.,

         Defendants.


                                              ORDER

       Upon consideration of [26] the stipulated request for an order to further postpone rule’s

effective date, and the entire record herein, it is hereby

       ORDERED that, pursuant to 5 U.S.C. § 705, and consistent with the Court’s prior order

in this case, the effective date of all provisions of the November 20, 2020, final rule promulgated

by the U.S. Department of Health and Human Services (“HHS”), published at 85 Fed. Reg. 76,666,

that were scheduled to take effect on January 29, 2021, is hereby postponed until January 1, 2023.

This postponement is entered without prejudice to the merits of this action. It is further

       ORDERED that this case will be held in abeyance pending the duration of HHS’s review

of the November 20, 2020 rule, subject to the continued consent of the parties. And it is further

       ORDERED that the parties shall submit a joint status report identifying whether and how

this case should proceed by not later than April 1, 2021.

       SO ORDERED.
                                                                                   /s/
                                                                            JOHN D. BATES
                                                                       United States District Judge
Dated: March 15, 2021
